      Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 1 of 7

(Revised 03/2020)


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             APPEARANCE BOND: __________________________                        TM

                                        CASE NO.: __23-8140-BER_
                                                                                    Mar 17, 2023
UNITED STATES OF AMERICA:
                                                                                                  West Palm Beach
                      Plaintiff,
v.                                                           USM # : 48669-510

VICTOR VAN VICKERY,
                  Defendant,
____________________________________/

I, the undersigned defendant and I or we, the undersigned sureties, jointly and severally acknowledge that we and
our personal representatives, jointly and severally, are bound to pay the United States of America, the sum of
$ 500,000 10% PSB w/Nebbia & co-signed by Lisa Vickery &
   Dana Pessoa.

                                   STANDARD CONDITIONS OF BOND

The conditions of this bond are that the defendant:

    1. Shall appear before this Court and at such other places as the defendant may be required to appear, in
accordance with any and all orders and directions relating to the defendant’s appearance in this case, including
appearance for violation of a condition of the defendant’s release as may be ordered or notified by this Court or
any other United States District Court to which the defendant may be held to answer or the cause transferred. The
defendant is required to ascertain from the Clerk of Court or defense counsel the time and place of all scheduled
proceedings on the case. In no event may a defendant assume that his or her case has been dismissed unless the
Court has entered an order of dismissal. The defendant is to abide by any judgment entered in such matter by
surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.
This is a continuing bond, including any proceeding on appeal or review, which shall remain in full force and
effect until such time as the Court shall order otherwise.

   2. May not travel outside the Southern District of Florida unless otherwise approved by the Court prior to
any such travel. The Southern District of Florida consists of the following counties: Broward, Highlands, Indian
River, Martin, Miami-Dade, Monroe, Okeechobee, Palm Beach and St. Lucie.

   3. May not change his/her present address without prior notification and approval from the U.S. Probation
Officer or the Court.

   4. Must cooperate with law enforcement officers in the collection of a DNA sample if the collection is
required by 42 U.S.C. Section 14135a.

    5. Must not violate any federal, state or local law while on release in this case. Should the defendant come
in contact with law enforcement he/she shall notify the U.S. Probation Officer within 72 hours.
    Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 2 of 7

                                                              DEFENDANT: VICTOR VAN VICKERY
                                                              CASE NUMBER: 23-8140-BER
                                                              PAGE TWO


                                      SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
special conditions checked below:

  a. Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      during the pendency of the case;
  b. Report to Pretrial Services as follows: () as directed or___ time(s) a week in person and___ time(s) a week by
      telephone;
   c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
      to pay, as determined by the U.S. Probation Officer;
   d. Refrain from ____excessive OR ___abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
   e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;
  f. Employment restriction(s): No employment in health care
  g. Maintain or actively seek full-time employment/education/volunteerism;
   h. Maintain or begin an educational program;
  i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
      provide defense counsel and pretrial services with the names of all victims or witnesses. The prohibition
      against contact does not take effect until defense counsel receives the list. The prohibition against contact
      applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
      defense counsel and pretrial services.;
  j. Avoid all contact with co-defendants and defendants in related cases, except through counsel;
  k. Refrain from possessing a firearm, destructive device or other dangerous weapons and shall surrender (if any),
      their concealed weapons permit to the U.S. Probation Office;
   l. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., any real property they own,
      until the bond is discharged, or otherwise modified by the Court;
   m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
   n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
       defendant’s computer equipment at his/her place of employment or on the computer at his/her residence which
       may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
       ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
       thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant’s
       computer(s), at the defendant’s expense, any hardware or software systems to monitor the defendant’s computer
       use;
   Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 3 of 7

                                                          DEFENDANT: VICTOR VAN VICKERY
                                                          CASE NUMBER: 23-8140-BER
                                                          PAGE THREE


 o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as well as contribute to the costs of
     services rendered based on () ability to pay as determined by the U.S. Probation Officer – or – ( ) paid by
     U.S. Probation;
         Location monitoring technology at the discretion of the officer
         Radio Frequency (RF) monitoring (Electronic Monitoring)
       Active GPS Monitoring
         Voice Recognition
         Curfew: You are restricted to your residence every day from_____ to_____, or as directed by the supervising
         officer.
                                                       OR
        Home Detention: You are restricted to your residence at all times except for:
        ( ) medical
        ( ) substance abuse or mental health treatment
        ( ) court appearances
        ( ) attorney visits or court ordered obligations
        ( ) religious services
        ( ) employment
        ( ) other activities as pre-approved by the supervising officer
   p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
      halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
      Services or ( ) based on the defendant’s ability to pay. You are restricted to the residential re-entry
      center/halfway house at all times except for:
      ( ) employment
      ( ) education
      ( ) religious services
      ( ) medical, substance abuse, or mental health treatment
      ( ) attorney visits
      ( ) court appearances
      ( ) court ordered obligations
      ( ) reporting to Pretrial Services
      ( ) other ___________________________________________________________________
__ q. Third-Party Custody: _________________________________will serve as a third party custodian and will
      report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
      requirements, the third party custodian can be subject to the provisions of 18 U.S.C. § 401, Contempt of
      Court.
__ r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
      U.S.C. 1030(e)(1)), other electronic communication or data storage devices or media, or office, to a search
      conducted by a United States Probation Officer. The defendant must warn any other occupants that the
      premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
      time and in a reasonable manner.
  Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 4 of 7

                                                          DEFENDANT: VICTOR VAN VICKERY
                                                          CASE NUMBER: 23-8140-BER
                                                          PAGE FOUR


  s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
  associations, place of abode, or travel, to avoid all contact with an alleged victim of the crime and with a
  potential witness who may testify concerning the offense; report on a regular basis to a designated law
  enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
  monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
  t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
        1. ( ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                  by the Court or allowed by the U.S. Probation Officer.
        2. ( ) The defendant shall not possess or use any data encryption technique or program and shall
                  provide passwords and administrative rights to the U.S. Probation Officer.
        3. ( ) Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                  and to contribute to the costs of services rendered based on ability to pay, as determined by
                  the U.S. Probation Office.
        4. ( ) Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                  and/or computer. Additionally, the defendant is prohibited from using another individual’s
                  computer or device that has internet capability.
        5. ( ) Defendant is prohibited from establishing or maintaining any email account or social media
                  account. Additionally, the defendant is prohibited from using another individual’s email account
                  or social media account. Must provide monthly or upon request, personal phone and credit card
                  billings to Pretrial Services to confirm there are no services with any internet services provider.
        6. ( ) Defendant is not permitted to enter places where children congregate including, but not limited
                  to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                  amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
        7. ( ) The defendant shall not be involved in any children’s or youth organizations.
        8. ( ) Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                  sexually stimulating visual or auditory material, including telephone, electronic media,
                  computer programs, or computer services.
        9. ( ) The defendant shall participate in a maintenance polygraph examination to periodically
                 investigate the defendant’s compliance. The polygraph examination shall specifically address
                 only defendant’s compliance or non-compliance with the special conditions of release and shall
                 not inquire into the facts of the pending criminal case against defendant. The defendant will
                 contribute to the costs of services rendered (co-payment) based on ability to pay or availability
                 of third party payment.
 u. May travel to and from: _        SDFL                 , and must notify Pretrial Services of travel plans before
  leaving and upon return.
 v. Comply with the following additional conditions of bond:
    Parties have until noon on 3/17 to post the 10% and meet the Nebbia condition. If case is assigned to Judge
    Cannon, Judge Cannon will grant/deny any bond request/modifications, otherwise PTS may approve. Must
    reside at address given out in open Court. Deft may continue with GPS monitor from the State case.
     Defendant will remain with the two GPS monitors
     Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 5 of 7

                                                             DEFENDANT: VICTOR VAN VICKERY
                                                             CASE NUMBER: 23-8140-BER
                                                             PAGE FIVE


                    PENALTIES AND SANCTIONS APPLICABLE TO DEFENDANT

        Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant
for the defendant’s arrest, a revocation of release, and order of detention, as provided in 18 U.S.C. §3148,
forfeiture of any bail posted, and a prosecution for contempt as provided in 18 U.S.C. §401, which could result
in a possible term of imprisonment or a fine.

       The commission of any offense while on pretrial release may result in an additional sentence upon
conviction for such offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itself.

        Title 18 U.S.C. §1503 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine
to intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U.S.C. §1510 makes it a felony
criminal offense punishable by imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C.
§1512 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine to tamper with a
witness, victim or informant; and 18 U.S.C. §1513 makes it a felony criminal offense punishable by imprisonment
and a $250,000 fine to retaliate against a witness, victim or informant, or threaten to do so.

         It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a
court order. If the defendant was released in connection with a charge of, or while awaiting sentence, surrender
for the service of a sentence, or appeal or certiorari after conviction for:

    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
        the defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
        defendant shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
    (3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
        years, or both;
    (4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
        year, or both.

        A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted,
which means that the defendant will be obligated to pay the full amount of the bond, which may be enforced by
all applicable laws of the United States.
      Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 6 of 7

                                                                           DEFENDANT: VICTOR VAN VICKERY
                                                                           CASE NUMBER: 23-8140-BER
                                                                           PAGE SIX

                                    PENALTIES AND SANCTIONS APPLICABLE TO SURETIES
Violation by the defendan t of any of th e forego ing conditi ons of release will result in an immediate obl igation by the surety or sureties
to pay th e full amount of the bond . Forfe iture of the bond fo r any breach of one or more conditions may be declared by a judicial officer
of any United States District Court having cognizance of the above entitled matter at the time of such breach, and if the bond is forfe ited
and the forfe iture is not set aside or remitted, judgment may be entered upon motion in such United States District Court against each
surety jointly and severally fo r the amount of the bond, together with interest and costs, and execution may be issued and payment
secured as provided by the Federal Rules of Criminal Procedure and other laws of the United States.

                                                                SIGNATURES
I have carefully read and I understand this entire appearance bond consisting of seven pages, or it bas been read to me, and, if necessary,
tran slated into my native language, and I know that I am obligated by law to comply with all of th e terms of this bond. I promise to obey
all conditions of this bond, to appear in court as required, an d to surrender fo r service of any sentence imposed. I am aware of th e
penalties and sanctions outlined in thi s bond fo r violation s of the term s of the bond.

If I am an agent acting for or on behalf of a corporate surety, I furth er represent that I am a duly authorized agent for the corporate surety
and have full power to execute this bond in the amount stated.

                                                               DEFENDANT
               111
Signed th is -
             13-   --
                      day of MARCH                        2023 _ _ at West Palm Beach_ ,
Signed and acknowledged before me:                                D EF
WITNESS:
                 ---------------
        C ity                          State

                                                          CORPORATE SURETY
Signed tbis _ _ _ _ day of _ _ _ _ _ _ _ _ , 20                    at _ _ _ _ _ _ _ , Florida
SURETY:                                                            AG ENT: (Signature)
                                                                   PRINT NAME:
                                                                                              ---------------
          City                            State

                                                          INDIVIDUAL SURETIES
                                                                      Signed this   f1Q, of     -li-lJ--\<p,,f..:~-


                                                                      SU RETY: (Signa         re) ~-=..._.'-"-1':R-'"'-,;,,,,±-:::=-::::::--:_..----
                                                                       PRTNT NA ME: ---1:::::;..;::...k..J~~---'...;..;;.___,,,,,.....-,-___;_ _--+l_
                                                                      RELATIONSHIP TO DEFENDAN


                                                  Stat               Dcl[lY                 PtCM+-- - - - - - - -
                                                                                                                State-
                                                                                                                   -   -


Signed this _      day of _ _ __      , 20_ at _ _ _~ Florida         Signed this       day of _ _ _ _ _ , 20_ at _ _ _~ Florida
SURETY: (Signature)
                  -----------                                                          --------------
                                                                      SURETY: (Signature)
PRINT NAME:
            -------------                                             PRINT NAME:
                                                                                  -----------------
                                                                      RELATIONSHIP TO DEFENDANT:
RELATIONSHIP TO DEFENDANT:
                                                                                                 ----------
                 C ity                            State                          City                                          State

                                                    APPROVAL BY THE COURT
                   3/17/2023
 Date:
                                                                         BRUCE E. REINHART
                                                                         UNITED STATES MAGISTRATE JUDGE
     Case 9:23-cr-80140-RLR Document 11 Entered on FLSD Docket 03/17/2023 Page 7 of 7


       Generated: Mar 17, 2023 9:50AM                                                                                                     Page 1/1




I-                                                           U.S. District Court

                                                   Florida Southern • West Palm Beach
                                                                                                               Receipt Date: Mar 17, 2023 9:50AM
      \Jirto-r \Jan \l\c:'Kery


       Rcpt. No: 8283                                      Trans. Date: Mar 17, 2023 9:50AM                                      Cashier ID: # ME

        CD         Purpose                     Case/Party/Defendant                       Qty                         Price                  Amt

       701         Treasury Registry           23mj8140                                     1                      50000 .00            50000.00




       CD          Tender                                                                                                                    Amt

       CH          Check                    #4772 0025 1                        03/17/2023                                            $1 0,000.00

       CH          Check                    #6623301560                         03/15/2023                                            $40,000.00

                                                                                    Total Due Prior to Payment:                       $50,000.00

                                                                                                Total Tendered :                      $50,000.00

                                                                                          Total Cash Received:                              $0.00

                                                                                         Cash Change Amount:                                $0.00

       Comments : Victor Van Vickery Bond 23MJ8140



       Checks and drafts are accepted subject to collection and full credit will only be given when the check or draft has been accepted by the
       financial Institution on which it was drawn.
